     Case 3:15-cv-00231-DJH Document 18 Filed 03/10/16 Page 1 of 1 PageID #: 89




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION

JACQUELINE HALL-BECKETT,
ADMINISTRATRIX OF THE ESTATE OF
DENNIS BECKETT, Deceased,                                                              Plaintiff,

v.                                                            Civil Action No. 3:15-cv-231-DJH

REGENCY NURSING, LLC, d/b/a                                                          Defendant.
REGENCY CENTER,

                                           * * * * *

                                            ORDER

         The parties have filed a stipulation of dismissal with prejudice signed by all parties.

(Docket No. 17) Accordingly, and the Court being otherwise sufficiently advised, it is hereby

         ORDERED that this action stands DISMISSED with prejudice pursuant to Federal Rule

of Civil Procedure 41(a)(1)(A) and is STRICKEN from the Court’s active docket. All dates and

deadlines set in this matter are VACATED.

March 10, 2016




                                                               David J. Hale, Judge
                                                            United States District Court
